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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,           )
                                    )
      v.                            )                 Case No. 21-CR-224 (TSC)
                                    )
KENNETH GRAYSON                     )
                  Defendant.        )
___________________________________ )




                UNOPPOSED MOTION TO CONTINUE STATUS HEARING

       Defendant, Kenneth Grayson, through undersigned counsel, respectfully requests that the

June 1, 2022, Status Hearing in this case be continued until a date after July 11, 2022. In support

of this request, the Defendant states:

       1. The Defendant=s next Status Hearing is presently scheduled for June 1, 2022. As noted

in earlier filings, the Government recently obtained additional video evidence of the Defendant's

conduct on January 6, 2021. This newly discovered evidence has resulted in the parties having to

reassess their respective positions with regard to a potential resolution of this matter, and counsel

for the Defendant needs additional time to complete plea negotiations with the Government. The

Defendant therefore requests that the Court continue the June 1, 2022, Status Hearing until a date

after July 11, 2022.

       2. The Government, per Department of Justice Attorney Detailee Maria Fedor, does not

oppose this request.

       3. The Defendant further requests, based on the reasons stated above, that the time period

from June 1, 2022, until the next scheduled hearing in this matter be excluded under the Speedy

Trial Act.

       4. In the event the Court grants this Motion, the parties will contact the Court=s courtroom

deputy to schedule the next hearing in this case.
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                                 Respectfully submitted,
                                 A.J. Kramer
                                 Federal Public Defender

                                        /s/

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